                                                       U.S. DISTRICT
     Case 4:17-cr-00319-JM Document 50 Filed 04/24/19 Page  1 of 1   COURT
                                                 EASTERN DISTRICT OF ARKANSAS
                                                             FILED
                                                             APR 2 4 2019
                                                     JAMES                   K
    UNITED STATES DISTRIO'l'~~~~--
                    EASTERN DISTRICT OF ARKANSAS
                        WAIVER OF INDICTMENT

UNITED STATES OF AMERICA

           v.                   CASE NUMBER: 4:17-CR-319-JM-02

NATHANIEL BURROUGHS

I, NATHANIEL BURROUGH, the above named defendant,, who is accused

of a violation of Title 18, United States Code, Section 371, that

is, Conspiracy to Distribute Methamphetamine, being advised of the

nature of the charge, the proposed information, and of my rights,

hereby waive    in open court   on this   _..:J:i_   day of April,   2019,

prosecution by indictment and consent that the proceeding may be

by superseding information rather than by i




                                                     BURROUGHS



                                    Defendant's Attorney
                                    STEPHEN R. DAVIS
